Case 2:21-cv-01924-AB-AS Document 19 Filed 09/22/21 Page 1 of 2 Page ID #:113



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 8                         UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

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11                                          CASE NO. CV 21-01924-AB(AS)
      RICKEY LOUIS ALFORD,
12                                                     JUDGMENT
13                      Petitioner,

14          v.

15    KATHLEEN ALLISON, Secretary of
      the California Department of
16    Corrections and
      Rehabilitation,
17

18                      Respondent.
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21
           Pursuant to the Order Accepting Findings, Conclusions and
22
     Recommendations of United States Magistrate Judge,
23
     //
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25   //

26   //

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Case 2:21-cv-01924-AB-AS Document 19 Filed 09/22/21 Page 2 of 2 Page ID #:114



 1         IT IS ADJUDGED that the Petition is denied and dismissed with
 2   prejudice.
 3
           DATED: September 22, 2021
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 6                                             ___________    _________ ____
                                                      ANDRÉ BIROTTE JR.
 7                                              UNITED STATES DISTRICT JUDGE

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